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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 12-879V
                                          (Not to be published)

*****************************
                             *
JANIE L. COSCIA ROBERTS,     *                                            Filed: November 14, 2014
                             *
                 Petitioner, *
                             *                                            Decision by Stipulation; Damages;
            v.               *                                            Influenza (“Flu”) Vaccine;
                             *                                            Transverse Myelitis (“TM”)
SECRETARY OF HEALTH AND      *
HUMAN SERVICES,              *
                             *
                 Respondent. *
                             *
*****************************

Diana S. Sedar, Maglio Christopher and Toale, PA, Washington, D.C., for Petitioner.

Gordon E. Shemin, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

                                  DECISION AWARDING DAMAGES1

        On December 14, 2012, Janie L. Coscia Roberts filed a petition seeking compensation
under the National Vaccine Injury Compensation Program.2 Petitioner alleges that as a result of
receiving the influenza (“flu”) vaccine on November 18, 2010, she suffered from Transverse
Myelitis (“TM”), and that she experienced the effects of this injury for more than six months.

        Respondent denies that the flu vaccine caused Petitioner’s alleged TM, or any other
injury, and further denies that Petitioner’s current disabilities are sequelae of a vaccine-related

1
  Because this ruling contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the ruling will be available to the public.
Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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injury. Nonetheless both parties, while maintaining their above-stated positions, agreed in a
stipulation (filed November 14, 2014) that the issues before them can be settled and that a
decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation (as attached hereto) is reasonable. I therefore adopt it as my decision in awarding
damages on the terms set forth therein.

        The stipulation awards:

                   A lump sum of $100,000.00 in the form of a check payable to petitioner. This
                   amount represents compensation for all damages that would be available under
                   42 U.S.C. §300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


                                              )
JANIEL. COSCIA ROBERTS,                       )
                                              )
               Petitioner,                    )       No. 12-879V
                                              )       Special Master Corcoran
       v.                                     )
                                              )
SECRETARY OF HEALTH AND                       )
HUMAN SERVICES,                               )
                                              )
               Respondent.                    )


                                            STIPULATION

       The parties hereby stipulate to the following matters:

        1. Petitioner filed a petition for vaccine compensation under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the ''Vaccine Program"). The petition

seeks compensation for injuries allegedly related to petitioner's receipt of the seasonal influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R.

§ 100.3 (a).

       2. Petitioner received her flu vaccination on or about November 18, 2010.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused her to develop Transverse Myelitis

("TM") and that she experienced the residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.

       6. Respondent denies that the flu immunization is the cause of petitioner's alleged TM,

and/or any other injury.
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            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

            8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

                   A lump sum of $100,000.00 in the form of a check payable to petitioner. This
                   amount represents compensation for all damages that would be available under 42
                   U.S.C. §300aa-15(a).

            9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

            10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- 15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

            11. Payment made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.




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        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Heahh and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resuhed from, the flu vaccination administered on or

about November 18, 2010, as alleged by petitioner in a petition for vaccine compensation filed

on or about December 14, 2012, in the United States Court of Federal Claims as petition No. 12-

879V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a




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decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, except as otherwise

noted in paragraph 9 above. There is absolutely no agreement on the part of the parties hereto to

make any payment or to do any act or thing other than is herein expressly stated and clearly

agreed to. The parties further agree and understand that the award described in this Stipulation

may reflect a compromise of the parties' respective positions as to liability and/or amount of

damages, and further, that a change in the nature of the injury or condition or in the items of

compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged TM or

any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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 Respectfully submitted,

 PETITIONER:




                                              AUTHORIZED REPRESENTATIVE
                                              OF UIE ATTORNEY GE~L:

                                              v~~~
 Maglio, Christopher & Toale
                                              VIN~T~ATANOSKI ~
                                              Deputy Director
 1605 Main Street                             Torts Branch
 Suite 710                                    Civil Division
 Sarasota, Florida 34236                      U.S. Department of Justice
 (888) 952-5242                               P.O. Box 146
                                              Benjamin Franklin Station
                                              Washington, DC 20044-0146


 AUTHORIZED REPRESENTATIVE                    ATTORNEY OF RECORD FOR
 OF THESE             RY OF HEALTH            RESPONDENT:
 AND HU                    CES:

               I~
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